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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     ____________________________________________
 7                                                )
     ILYA MIRONOV,                                )
 8                                                )                 Case No. C22-416RSL
                           Plaintiff,             )
 9              v.                                )
                                                  )                 ORDER TO SHOW CAUSE
10   PHH MORTGAGE CORPORATION,                    )
                                                  )
11                         Defendant.             )
     ____________________________________________ )
12
13                On April 6, 2022, the Court issued an order requiring the parties to file a Joint
14   Status Report by May 4, 2022. No such report has been filed and the parties have not sought or
15   obtained an extension of time in which to make the required submission. The parties shall, no
16   later than Thursday, May 26, 2022, file their Joint Status Report and show cause to the Court
17   why sanctions including dismissal should not be imposed for their failure to comply with the
18   Order of April 6, 2022. The Clerk is directed to place this Order to Show Cause on the Court’s
19   calendar for May 27, 2022.
20
21                DATED this 10th day of May, 2022.

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24                                            A
                                              Robert S. Lasnik
25                                            United States District Judge
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     ORDER TO SHOW CAUSE
